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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION



PRUDENCIA PORTOCABRERO,

       Petitioner,

v.                                                CASE NO: 8:07-CV-1200-T-30TGW
                                                     Crim. Case No: 8:05-CR-53-T-30TGW
UNITED STATES OF AMERICA,

      Respondent.
____________________________________/


                                         ORDER

       THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence pursuant to 28 U.S.C. §2255 (Dkt. #1) filed on July 9, 2007 and the

Government’s Response thereto (Dkt. #5).

                                        Background

       Petitioner,   PRUDENCIA        PORTOCABRERO           (hereinafter   referred   to   as

“Portocabrero” or “Petitioner”), was arrested on February 6th of 2005, with others in the

Eastern Pacific Ocean in a Colombian fishing vessel approximately 150 miles south of

Guatemala. Petitioner was charged by indictment with: (1) possession with intent to

distribute five kilograms or more of cocaine while aboard a vessel subject to the jurisdiction

of the of the United States, in violation of Title 46 Appendix, United States Code, Sections

1903 (a) and (g); Title 18, United States Code, Section 2; and Title 21, United States Code,
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Section 960(b)(1)(B)(ii), and (2) conspiracy to possess with intent to distribute five

kilograms or more of cocaine while aboard a vessel subject to the jurisdiction of the United

States, in violation of Title 46 Appendix, United States Code, Sections 1903(a), (g), and (j);

and Title 21, United States Code, Section 960(b)(1)(B)(ii). Petitioner pled guilty to both

counts.

       At sentencing, Petitioner objected to the lack of a downward adjustment for role.

Otherwise, Petitioner accepted the accuracy of the Presentence Report. The facts included:

       7.     On February 6, 2005, a United States helicopter launched from the deck of
       the USS Boone on patrol in the Eastern Pacific Ocean spotted the Colombian
       fishing vessel Don Heri approximately 150 nautical miles south of Guatemala.
       Based on intelligence from “Panama Express” agents, officers from the United
       States Coast Guard Law Enforcement Detachment Team intercepted and boarded
       the Don Heri. Very quickly after the officers boarded the Don Heri, Francisco
       Arroyo-Obando identified himself as the captain of the vessel. Arroyo-Obando is
       a licensed boat captain, and he is listed as the captain on documentation seized
       from the Don Heri.

       8.     In accordance with a bilateral agreement with the Colombian government,
       law enforcement personnel searched the Don Heri and found 43 bales of cocaine
       weighing 1,170 kilograms (2,580 pounds) concealed in hidden compartments
       onboard the Don Heri.

       9.     The boarding officers questioned the crew in Spanish. The ten crew
       members identified themselves and their individual nationalities. Nelson Arango,
       Elias Valencias-Portocabrero, Andres Mauricio Diaz-Trivino, Camilo Panameno,
       Liborio Hurtado-Micolta, James Ortiz-Castro, Prudencia Portocabrero, Ismael
       Torres-Valentierra, and Jaime Francisco Borja-Martinez are all from Colombia,
       and Francisco Arroyo-Obando is from Ecuador. 1

       Petitioner was sentenced to 151 months.


       1
       Presentence Investigation Report for Prudencia Portocabrero, Case #8:05-CR-53-T-30TGW
(December 6, 2005).

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       Petitioner appealed his sentence to the Eleventh Circuit Court of Appeal which

affirmed this Court’s disposition of the case on May 8, 2006.2

                                             Discussion

       Petitioner now brings this §2255 motion to set aside his sentence, raising several of

the same issues that he asserted on appeal in the Eleventh Circuit. In particular, Petitioner

asserts his “counsel failed to properly investigate the ownership of vessel, failed to argue the

disparities in sentences to other co defendants, failed to argue that petitioner did not

understand English and provided no interpreter, failed to argue any mitigating

circumstances.” And the Petitioner claims that “the district court failed to take into account

the conduct of other participants to the conspiracy, improperly evaluating Petitioner’s role

in the offense for a downward departure.” Finally, Petitioner asserts that: “counsel failed to

correct the record where government alleged petitioner made previous drug trips.”

       As to the claim that Petitioner’s attorney failed to investigate the ownership of the

vessel, Petitioner does not state how he was prejudiced by this possibility. The ownership of

the vessel is not a factor that would have changed Petitioner’s sentence. Therefore, Petitioner

was not prejudiced.

       As to the argument that the Petitioner’s attorney “failed to argue disparities in

sentences to the other co defendants” and that “the district court failed to take into account

the conduct of other participants to the conspiracy, improperly evaluating Petitioners role in



       2
           United States v. Portocabrero, 184 Fed. Appx. 885, 2006 WL 1674321 (C.A.11(Fla.)).

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the offense for a downward departure”, the Eleventh Circuit Court of Appeals addressed

these issues. The Court of Appeals held that defendant [Petitioner] was not entitled to a

minor participant role reduction and that a 151 month sentence was not unreasonable.3 These

renewed arguments are insufficient to support a §2255 petition.

       The claim that Petitioner did not understand English and was provided no interpreter

is directly contradicted by the record.4 An interpreter was used during Petitioner’s plea

hearing and at sentencing.5 Petitioner confirmed that he understood the sentencing process

and that a judge would determine his sentence.6 The Court notes that Petitioner’s counsel also

spoke Spanish fluently.7

       To vacate a sentence for ineffective assistance of counsel, counsel’s performance must

be below an objective standard of reasonable professional assistance and the defendant must

be prejudiced by the deficient performance.8 The burden is on the Petitioner to prove both




       3
           United States v. Portocabrero, 184 Fed. Appx. 885, 2006 WL 1674321 (C.A.11(Fla.)).
       4
         United States v. Prudencia Portocabrero, Transcript of Plea Proceedings, Dkt. #332, Case No:
8:05-Cr-53-T-30TGW (August 23, 2005).
       5
         United States v. Prudencia Portocabrero, Transcript of Plea Proceedings, Dkt. #332, Case No:
8:05-Cr-53-T-30TGW (August 23, 2005), and United States v. Prudencia Portocabrero, Transcript of
Sentencing Hearing, Dkt. #344, Case No: 8:05-Cr-53-T-30TGW (December 16, 2005).
       6
         United States v. Prudencia Portocabrero, Transcript of Plea Proceedings, Dkt. #332, Case No:
8:05-Cr-53-T-30TGW (August 23, 2005).
       7
         United States v. Prudencia Portocabrero, Transcript of Plea Proceedings, Dkt. #332, Case No:
8:05-Cr-53-T-30TGW (August 23, 2005).
       8
        Strickland v. Washington, 466 U.S. 668, 688 (1984).

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that counsel’s performance was unreasonable and that he was prejudiced.9 The Petitioner has

failed to meet this burden.

        Finally, Petitioner asserts that counsel failed to correct the record where the

Government alleged Petitioner made previous drug trips.10 The issue of whether to grant a

minor role is within the broad discretion of the sentencing court. A large quantity of drugs,

by itself, is sufficient to deny a minor role.11 Petitioner was apprehended with over 1,000

kilograms of cocaine. While Petitioner asserts that his counsel failed to “correct the record,”

he does not point to any evidence that could have “corrected the record.”12 Counsel made

argument to the court that the Government’s proffer was just that – a proffer unsupported by

any evidence. His counsel did argue that the Petitioner was simply a mariner on the vessel.

        Petitioner’s counsel was not deficient.

                                               Conclusion

        It is therefore ORDERED AND ADJUDGED that:

        1.        The Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to

28 U.S.C. §2255 (Dkt. #1) is DENIED.


        9
         Chandler v. United States, 218 F.3d 1305, 1313 (11th Cir. 2000).
        10
         United States v. Prudencia Portocabrero, Transcript of Sentencing Hearing, Dkt. #344, Case
No: 8:05-Cr-53-T-30TGW (December 16, 2005).
        11
            United States v. DeVaron, 175 F.3d 930, 937 (11th Cir. 1999).
        12
           Prudencia Portocabrero, Motion under 28 U.S.C. §2255 to set aside, or correct sentence by a
person in federal custody, Dkts. #1-2, Case No: 8:07-cv-1200-T-30TGW, filed 7/9/2007. The Court
notes that Petitioner has not claimed that he did not participate in previous trips or recruit other members
to join the conspiracy.

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           2.         The Clerk shall enter judgment for Respondent, United States of America,

terminate all pending motions, and close this case.

           3.         The Clerk is direct to terminate the pending (Dkt. #391) Motion to Vacate, Set

Aside or Correct Sentence in the underlying criminal case number 8:05-CR-53-T-30TGW.

           DONE and ORDERED in Tampa, Florida on October 23, 2007.




Copies Furnished To:
Counsel/Parties of Record
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